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              EXHIBIT 8
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 −1.0000 BTC
 −$313.89 USD
 to
 Bitcoin address 1F5torARiCnUqFraYzRzeCUqZxJ9H4FNTa
 Status
 Transaction confirmed
47141 confirmations
11:58PM — January 2, 2015


 −1.2000 BTC −1.2000 BTC
 −$376.67 USD
 to
 Bitcoin address 1F5torARiCnUqFraYzRzeCUqZxJ9H4FNTa
 Status
 Transaction confirmed
47142 confirmations
11:39PM — January 2, 2015


 −1.8000 BTC −1.8000 BTC
 −$570.79 USD
 to
 Bitcoin address 1F5torARiCnUqFraYzRzeCUqZxJ9H4FNTa
 Status
 Transaction confirmed
49385 confirmations
12:52PM — December 19, 2014


 −1.0000 BTC
 −$347.48 USD
 to
 Bitcoin address 1M7swLxdYZXJGtmegb3ECHZAKocMfVbyGL
 Status
 Transaction confirmed
50191 confirmations
1:23PM — December 13, 2014


 −1.5000 BTC −1.5000 BTC
 −$579.19 USD
 to
 Bitcoin address 1M7swLxdYZXJGtmegb3ECHZAKocMfVbyGL
 Status
 Transaction confirmed
53903 confirmations
3:36PM — November 17, 2014
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Gaw BTC Addresses



1LnT29STn5U866g5JsB1PN978r8pxeC2qT



Gaw BTC Transactions



5dd2d882d3bec2a4bbc2354537290cc7660f3434c84bc7539caf6f934a113647

44d59cf3c427e579b3b9755d96acfc9159dc70786ef0aeb69341fbea157c740f

7388751f39b62d68d98e9a21d51602d3cca456ae0bceee2d33957ae6d5115a6c
                                                        Case 3:16-cv-00940-MPS Document 140-7 Filed 05/03/19 Page 4 of 13


Date                       Reference ID               Transaction Type   From Account            To Account               From Amount             From Currency   To Amount        To Currency   Status
Tue Dec 23 2014 02:54:57   63c7b23f‐1544‐4c8f‐a53c‐
GMT+0000 (UTC)             3ddc5b652178               deposit            VISA ****5243           Your Account                              $100.00 USD            0.29865011 BTC   BTC           complete
Tue Dec 23 2014 02:57:54   c0b014f1‐7851‐4340‐9ba5‐                                              1Kg21134fshu4yFtUyg6T1hr
GMT+0000 (UTC)             652f20e0106e               spend              Your Account            M7X93JDkSr               0.29865011 BTC          BTC             0.29865011 BTC   BTC           complete
Tue Dec 30 2014 02:55:53   427befb7‐3129‐4709‐93ec‐
GMT+0000 (UTC)             021d155a4c4a               deposit            VISA ****5243           Your Account                              $100.00 USD            0.31541762 BTC   BTC           complete
Tue Dec 30 2014 02:58:51   e74effe0‐b431‐4572‐8c61‐                                              19QnNyK27D6KmUcgAvprN
GMT+0000 (UTC)             6f368605e6a4               spend              Your Account            mKtrk68pq48ym         0.31510950 BTC             BTC             0.31510950 BTC   BTC           complete
Fri Jan 02 2015 17:34:00   2dd9d8fe‐8fac‐4f5b‐a5b5‐                                              19WkyBugDozNFVuYmzDre
GMT+0000(UTC)              37685cf4cc9f               spend              Your Account            q6FataXRKEWit         0.00028309 BTC             BTC             0.00028309 BTC   BTC           complete
Tue Jan 06 2015 05:07:00   09b2002b‐2570‐42ca‐8ff4‐
GMT+0000(UTC)              b055eb9f8f8d               deposit            VISA ****5243           Your Account                              $100.00 USD            0.35990643 BTC   BTC           complete
Tue Jan 06 2015 05:13:00   501f668b‐4aaf‐447d‐883f‐                                              13K4aVaTJ1LSG3H4rugp7yN
GMT+0000(UTC)              260c90b75ee5               spend              Your Account            AoD2MXvK2YK             0.35991216 BTC           BTC             0.35991216 BTC   BTC           complete
Fri Jan 16 2015 17:35:00   10270a85‐fa5d‐48d8‐b9a6‐
GMT+0000(UTC)              68d3b2be746b               deposit            VISA ****5243           Your Account                              $100.00 USD            0.48759082 BTC   BTC           complete
Fri Jan 16 2015 17:37:00   d63e5e2b‐2d82‐42ab‐8e94‐                                              19WkyBugDozNFVuYmzDre
GMT+0000(UTC)              3cf5f7051d63               spend              Your Account            q6FataXRKEWit         0.48717449 BTC             BTC             0.48717449 BTC   BTC           complete
Sun Jan 25 2015 20:15:00   ca9efb9f‐7f44‐4769‐a3d0‐
GMT+0000(UTC)              5f7ecf9dfacc               deposit            VISA ****5243           Your Account                              $100.00 USD            0.38918078 BTC   BTC           complete
Sun Jan 25 2015 20:16:00   12be8d90‐291d‐47dc‐b75f‐                                              19WkyBugDozNFVuYmzDre
GMT+0000(UTC)              f6f8ad70243a               spend              Your Account            q6FataXRKEWit         0.38957855 BTC             BTC             0.38957855 BTC   BTC           complete
Thu Feb 19 2015 16:13:00   702d54d0‐9ed8‐424e‐af98‐
GMT+0000(UTC)              45c00da751ee               deposit            VISA ****5243           Your Account                              $100.00 USD            0.41478287 BTC   BTC           complete
Thu Feb 19 2015 16:15:00   c84c3ce8‐3d97‐45a3‐96c5‐                                              19WkyBugDozNFVuYmzDre
GMT+0000(UTC)              9f8d045a9c91               spend              Your Account            q6FataXRKEWit         0.41481021 BTC             BTC             0.41481021 BTC   BTC           complete
Fri Feb 27 2015 17:23:00   0703fa03‐bf30‐4c14‐8d9b‐
GMT+0000(UTC)              8b6fef1ce936               deposit            VISA ****5243           Your Account                              $100.00 USD            0.38948394 BTC   BTC           complete
Fri Feb 27 2015 17:24:00   77160784‐c59a‐4184‐bd68‐                                              19WkyBugDozNFVuYmzDre
GMT+0000(UTC)              d7d738f2067a               spend              Your Account            q6FataXRKEWit         0.38947532 BTC             BTC             0.38947532 BTC   BTC           complete
Mon Mar 09 2015 05:37:00   68cd8f3e‐df19‐4ed0‐8aeb‐
GMT+0000(UTC)              30f2dba27fdd               deposit            VISA ****5243           Your Account                              $100.00 USD            0.35450936 BTC   BTC           complete
Mon Mar 09 2015 05:39:00   22d3405d‐13d2‐41c8‐82b8‐                                              19WkyBugDozNFVuYmzDre
GMT+0000(UTC)              830be5432412               spend              Your Account            q6FataXRKEWit         0.35452193 BTC             BTC             0.35452193 BTC   BTC           complete
Tue Mar 10 2015 18:30:00   c51edbb7‐db62‐4399‐86a5‐
GMT+0000(UTC)              6b5c958e5c17               deposit            CAPITAL ONE N.A. ****4462 Your Account                            $100.00 USD            0.12947348 BTC   BTC           complete
Tue Mar 10 2015 19:43:00   08286f66‐fe39‐4515‐b425‐                                                19WkyBugDozNFVuYmzDre
GMT+0000(UTC)              1c8ad9e968a7               spend              Your Account              q6FataXRKEWit         0.12946905 BTC           BTC             0.12946905 BTC   BTC           complete
Fri Mar 13 2015 18:29:00   e243fd0e‐cca4‐4d9c‐a0b9‐
GMT+0000(UTC)              00f83bfac785               deposit            CAPITAL ONE N.A. ****4462 Your Account                            $100.00 USD            0.3386352 BTC    BTC           complete
Fri Mar 13 2015 18:31:00   c92a0d34‐1002‐4476‐b769‐                                                19WkyBugDozNFVuYmzDre
GMT+0000(UTC)              e5e0738765c7               spend              Your Account              q6FataXRKEWit         0.33861257 BTC           BTC             0.33861257 BTC   BTC           complete
Tue Mar 17 2015 18:14:00   0b0134e3‐35d7‐4bc6‐8ade‐
GMT+0000(UTC)              ca7077d99d44               deposit            VISA ****5243           Your Account                              $100.00 USD            0.34353637 BTC   BTC           complete
Tue Mar 17 2015 18:15:00   425fab84‐23a2‐4bb0‐9084‐                                              19WkyBugDozNFVuYmzDre
GMT+0000(UTC)              b56e153e870e               spend              Your Account            q6FataXRKEWit         0.34353636 BTC             BTC             0.34353636 BTC   BTC           complete
                 Case 3:16-cv-00940-MPS Document 140-7 Filed 05/03/19 Page 5 of 13
My Zencloud bitcoinadress, which I used to fund my account and buy Hashlets

1BvtbUv6rEJP6mMWZK6cD8VeAF7rcxxrs3
                            Case 3:16-cv-00940-MPS Document 140-7 Filed 05/03/19 Page 6 of 13



r:               718 099 052
                 korttransaktioner

Urval:           Alla korttransaktioner
Period:          20

Köpdatum                                  Inköpsställe                        Utl. belopp            Valuta                    Belopp i SEK    Förfallodag
   1/12/2015                              PAYBASE LLC.                          ‐$295.97             USD                          ‐2 447,20            1/30/2015 230 XPY
   12/2/2014                              GAW MINERS                            ‐$179.50             USD                          ‐1 377,51           12/30/2014
  11/28/2014                              GAW MINERS                              ‐$89.75            USD                         ‐683.24 kr           12/30/2014
  11/28/2014                              GAW MINERS                            ‐$179.50             USD                          ‐1 366,49           12/30/2014
   9/10/2014                              GAW MINERS                            ‐$104.75             USD                         ‐761.09 kr            9/30/2014
   8/22/2014                              GAW MINERS                            ‐$239.99             USD                          ‐1 690,59            9/30/2014
   8/24/2014                              GAW MINERS                              ‐$11.98            USD                           ‐84.39 kr           9/30/2014
   8/24/2014                              GAW MINERS                            ‐$239.99             USD                          ‐1 690,59            9/30/2014
   8/21/2014                              GAW MINERS                            ‐$159.98             USD                          ‐1 126,43            9/30/2014
   8/18/2014                              GAW MINERS                            ‐$159.98             USD                          ‐1 118,28            9/30/2014




     1/16/2015   Zencloud                 https://blockchain.info/tx‐index/7691f89e1a514f8584fde1b01b929d96959810e0a04c7f9a3f8a17de9a9fea48                     1   BTC    1EF279aqs3KuXoksTJvNJ8dDk8jwPRoDyn
     1/16/2015   Paybase                  https://blockchain.info/tx‐index/449aec204e5a1d5dfee045f2d68579f2523176f0b949c618c750d5d6e49aa042               3.4314    BTC    14rirRFpLfbeBdXusjq5CFuApETxYb4Pnr
     1/22/2015   Paybase                  https://blockchain.info/tx‐index/7db36439f730e0993ad3a01699d1419ca55df41df88902e76d5fbf06d582cb0f                     2   BTC    14rirRFpLfbeBdXusjq5CFuApETxYb4Pnr
      2/3/2015   Paybase                  https://blockchain.info/tx‐index/5dedf079608b8f66133aaba4315d56785640e0432ad8cfcaf255a60ae25cf45b                  1.25   BTC    14rirRFpLfbeBdXusjq5CFuApETxYb4Pnr
      1/6/2015   Paybase                  https://blockchain.info/tx‐index/0e4d661b489ff0c8a5c096da65d5c6170088945b88d31798c3606b31918fd4df          2.06194116     BTC    14rirRFpLfbeBdXusjq5CFuApETxYb4Pnr
     1/14/2015   Paybase                  8582836274bb0abed1a563369d258a7faf2d756b723661900de17064389ff4eb                                                   230    XPY    Withdraw to local wallet



                                          Purchased miner Zen Hashlet 100 for $     ‐$18.90                                                    2014/10/01 08:56
                                          Purchased miner Nice Hashlet 500 for      ‐$18.90                                                    2014/10/01 08:56
                                          Purchased miner Nice Hashlet 500 for      ‐$18.90                                                    2014/10/01 08:56
                                          Auto Purchased a Merged ZenPool Hashlet 5 with ‐0.25058097 BTC        ‐0.25058097 BTC                2014/09/09 21:40
                                          Auto Purchased a Zen Hashlet 5 with ‐0.23037143 BTC                   ‐0.23037143 BTC                2014/09/24 15:32
                                          Purchased miner Zen35 for $19.84          ‐$19.84                                                    2014/09/29 09:16
                                          Purchased miner Zen42 for $19.84          ‐$19.84                                                    2014/09/29 09:17
                                          Purchased miner Zen44 for $19.84          ‐$19.84                                                    2014/09/29 09:17
                                          Purchased miner Zen17 for $19.84          ‐$19.84                                                    2014/09/29 09:17
                                          Purchased miner Zen2 for $19.84           ‐$19.84                                                    2014/09/29 09:17
                                          Auto Purchased a Zen Hashlet 5 with ‐0.20410013 BTC                   ‐0.20410013   BTC              2014/09/10 13:29
                                          Auto Purchased a Zen Hashlet 5 with ‐0.20927478 BTC                   ‐0.20927478   BTC              2014/09/15 19:34
                                          [5410c698dd23a0f21d0a267d] account funding complete for 0.18 BTC ($   ‐0.18000000   BTC              2014/09/10 22:47
                                          Auto Purchased a Zen Hashlet 5 with ‐0.21026991 BTC                   ‐0.21026991   BTC              2014/09/11 19:51
                                          Purchased miner Hashlet Prime 1 for $     ‐$38.98                                                    2014/10/25 06:04
                                          Purchased miner Hashlet Prime 1 for $     ‐$38.98                                                    2014/10/25 06:04
                                          Purchased miner Hashlet Prime 1 for $     ‐$38.98                                                    2014/10/25 06:04
                                          Purchased miner Hashlet Prime 1 for $     ‐$36.75                                                    2014/10/28 21:10
                                          Purchased miner for sale for $18.9        ‐$18.90                                                    2014/10/05 20:00
                                          Purchased miner green42 for $17.82        ‐$17.82                                                    2014/10/06 06:29
                                          Purchased miner green21 for $17.82        ‐$17.82                                                    2014/10/06 06:29
                                          Purchased miner green23 for $17.82        ‐$17.82                                                    2014/10/06 06:29
                                          Purchased a Zen Hashlet 5 with ‐0.24438925 BTC                        ‐0.24438925 BTC                2014/10/10 08:44
                                          Purchased miner Hashlet Prime 1 for $     ‐$36.75                                                    2014/10/29 16:46
                                          Purchased a Zen Hashlet 1 with ‐0.05018820 BTC                        ‐0.05018820 BTC                2014/10/10 17:55
                                          Purchased a Zen Hashlet 1 with ‐0.05018820 BTC                        ‐0.05018820 BTC                2014/10/10 17:55
                                          Purchased a Zen Hashlet 5 with ‐0.24555600 BTC                        ‐0.24555600 BTC                2014/10/11 07:02
                                          Purchased miner Sell for $43.05           ‐$43.05                                                    2014/10/15 02:21
                                          Purchased miner Sell for $43.05           ‐$43.05                                                    2014/10/15 02:21
                                          Purchased a HashStaker 1 with ‐0.04882400 BTC                         ‐0.04882400 BTC                2014/11/28 15:10
                                          Purchased miner Hashlet Prime 1 for $     ‐$61.32                                                    2014/12/18 21:07
                                          Purchased miner Hashlet Prime 1 for $     ‐$61.32                                                    2014/12/18 21:23
                                          Purchased miner Hashlet Prime 1 for $     ‐$61.32                                                    2014/12/18 21:24
                                          Purchased miner Hashlet Prime 1 for $     ‐$61.32                                                    2014/12/18 21:26
                                          Purchased miner Hashlet Prime 1 for $     ‐$61.42                                                    2014/12/18 21:31




                                                                              ‐$2,472.89                        7.81959829 BTC
           Case 3:16-cv-00940-MPS Document 140-7 Filed 05/03/19 Page 7 of 13


Colin Watterson

From:             contact@coinbase.com on behalf of Coinbase <contact@coinbase.com>
Sent:             Thursday, November 20, 2014 1:33 PM
To:               jsaunders1974@gmail.com
Subject:          You just sent 0.25 BTC to 13pXywXmhWXddyAvxDF5ycNeVbdGXwgzkN




                    To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.
                    Coinbase




              Hi Jack Saunders,

              You just sent 0.25 BTC (worth $90.26 USD) to
              13pXywXmhWXddyAvxDF5ycNeVbdGXwgzkN.

              You can view this transaction at any time from your account.

              Kind regards,
              The Coinbase Team

                                                                                                                                          © Coinbase 2014




                                                                                                                                                1
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From:             contact@coinbase.com on behalf of Coinbase
To:               jsaunders1974@gmail.com
Subject:          You just sent 0.39 BTC to 13pXywXmhWXddyAvxDF5ycNeVbdGXwgzkN
Date:             Tuesday, November 25, 2014 4:10:23 PM




                Hi Jack Saunders,

                You just sent 0.39 BTC (worth $146.42 USD) to
                13pXywXmhWXddyAvxDF5ycNeVbdGXwgzkN.

                You can view this transaction at any time from your
                account.

                Kind regards,
                The Coinbase Team



                                                 © Coinbase 2014
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From:             contact@coinbase.com on behalf of Coinbase
To:               jsaunders1974@gmail.com
Subject:          You just sent 0.39 BTC to 13pXywXmhWXddyAvxDF5ycNeVbdGXwgzkN
Date:             Wednesday, December 3, 2014 9:32:41 PM




                  Hi Jack Saunders,

                  You just sent 0.39 BTC (worth $147.38 USD) to
                  13pXywXmhWXddyAvxDF5ycNeVbdGXwgzkN.

                  You can view this transaction at any time from your
                  account.

                  Kind regards,
                  The Coinbase Team



                                 Earn free bitcoin by inviting your friends to Coinbase.
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From:         contact@coinbase.com on behalf of Coinbase
To:           jsaunders1974@gmail.com
Subject:      You just sent 0.28 BTC to 13pXywXmhWXddyAvxDF5ycNeVbdGXwgzkN
Date:         Thursday, December 4, 2014 3:11:50 PM




               Hi Jack Saunders,

               You just sent 0.28 BTC (worth $104.42 USD) to
               13pXywXmhWXddyAvxDF5ycNeVbdGXwgzkN.

               You can view this transaction at any time from your
               account.

               Kind regards,
               The Coinbase Team



                             Earn free bitcoin by inviting your friends to Coinbase.
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From:         contact@coinbase.com on behalf of Coinbase
To:           jsaunders1974@gmail.com
Subject:      You just sent 1.28 BTC to 13pXywXmhWXddyAvxDF5ycNeVbdGXwgzkN
Date:         Monday, December 8, 2014 5:58:35 PM




               Hi Jack Saunders,

               You just sent 1.28 BTC (worth $463.57 USD) to
               13pXywXmhWXddyAvxDF5ycNeVbdGXwgzkN.

               You can view this transaction at any time from your
               account.

               Kind regards,
               The Coinbase Team



                             Earn free bitcoin by inviting your friends to Coinbase.
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1EDxEyht7SZEiHsVKG16u9dPGuvzSJ99Y7
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